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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
       vs.                                    )               Cr. No. 05-1849 JH
                                              )
DANA JARVIS, et al.,                          )
                                              )
               Defendants.                    )


                UNITED STATES’ MOTION FOR STATUS CONFERENCE
             FOR THE PURPOSE OF DESIGNATING THIS A COMPLEX CASE

       COMES NOW the United States of America, by and through David C. Iglesias, United States

Attorney for the District of New Mexico, and James R.W. Braun, Assistant United States Attorney

for said District, and moves the Court to withdraw the standing discovery order entered as to certain

defendants in this case and hold a status conference for the purposes of designating this a complex

case pursuant to 18 U.S.C. § 3161(h)(8)(B)(ii), and in support of its motion states:

       1.      On August 23, 2005, a federal grand jury in Albuquerque returned a twenty-six count

indictment in this case, charging all of the defendants in Count 1 with conspiracy to distribute

marijuana, in violation of 21 U.S.C. § 846. Defendant Dana Jarvis is charged in Count 2 with

engaging in a Continuing Criminal Enterprise, in violation of 21 U.S.C. § 848. Various defendants

are also charged with a money laundering conspiracy and substantive counts of money laundering,

in violation of 18 U.S.C. § 1956.

       2.      Defendants Dana Jarvis, Ralph Greene, George Ripley, Greg Hill, Cathy Fitzgerald,

Barbara Hanna, Russell Trujillo, Manuel Gil, Sam Jones, Mary Cannant, and Pat Berssenbrugge
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have been arraigned on the indictment. The standing discovery order has been entered, and a

motions deadline imposed, as to those defendants.1 As described below, the size and complexity of

this case renders the standing discovery order and current motions deadline unfeasible.

        3.      The indictment in this case is based in part on the electronic interception of seven

cellular telephones and one residential telephone. During the nearly six months of interception,

agents recorded several thousand conversations. Copies of the compact discs containing those

conversations, the monitoring logs, transcripts completed to date, and agents’ reports of investigation

are being prepared for release to the defendants. Moreover, agents executed numerous search

warrants in this case on August 25, 2005. Much of the evidence seized during the execution of those

warrants is still being processed, and the corresponding agents’ reports must be prepared for release

to the defendants.

        4.      The defense counsel in this case presumably will need a considerable period of time

to digest the discovery, advise their clients, conduct plea negotiations, file pretrial motions, and/or

prepare for trial.

        5.      Defendants Dana Jarvis, Barbara Hanna, Greg Hill, Ralph Greene, Sam Jones, Mary

Cannant, and Pat Berssenbrugge, through their respective counsel, concur with the granting of this

motion. Undersigned counsel was unable to obtain the position of counsel for the remaining

arraigned defendants.

        WHEREFORE, for the foregoing reasons, the United States respectfully requests that the

Court withdraw the standing discovery order entered as to certain defendants in this case and conduct


        1
         Defendants Ayla Jarvis, Jorge Luis Ortiz-Moffett, Mike Hannah, David Reid, Geno
Berthod, and Salvador Abeyta were arrested in other districts and have yet to be arraigned in the
District of New Mexico.

                                                  2
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a status conference for the purpose of declaring this case complex and setting an appropriate

schedule for discovery, motions, and trial.



                                                      Respectfully submitted,

                                                      DAVID C. IGLESIAS
                                                      United States Attorney

                                                      ELECTRONICALLY FILED

                                                      JAMES R.W. BRAUN
                                                      Assistant U.S. Attorney
                                                      P.O. Box 607
                                                      Albuquerque, NM 87103
                                                      (505) 346-7274

I HEREBY CERTIFY that a true
copy of the foregoing pleading was
faxed to all counsel of record
this 1ST day of September 2005.

ELECTRONICALLY FILED

JAMES R.W. BRAUN
Assistant U.S. Attorney




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